Case 2:05-cV-O2098-SHI\/|-tmp Document 11 Filed 06/01/05 Page 1 of 2 Page|D 22

IN THE UNITED sTATEs DlsTRicT COURT H'~ED B"’ Ui D-C-
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DrvisloN 05 JUH -l PH br 09

 

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GLEHI'§. Li_.»‘}. DES?. _CT.
DENNIS JOSLIN OKLAHOMA, L.L.C., W.D\ GF ‘}N, MEMPH!S

Plaintiff,
VS. NO. 05-2098-MafP
DARRELL SELLS,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC V]CE

Before the court is the May 31, 2005 motion for admission pro hac vice of Nicole S.
Zellweger. Ms. Zellweger is a member in good standing of the bar of the State ofMissouri and is
admitted to practice before the United States District Court for the Eastern District of Missouri.
Ms. Zellweger has obtained and is familiar with the local rules and professional guidelines of this

COLlI"[.

For good cause shown, the motion is granted and Nicole S. Zellwcger is admitted to

participate in this action as counsel for Defendant.

IT is so oRDERED this /" /’day ofJune, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JU`DGE

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 11 in
case 2:05-CV-02098 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

